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    5
    6
                              UNITED STATES DISTRICT COURT
    7
                            CENTRAL DISTRICT OF CALIFORNIA
    8
    9
        KAHN CREATIVE PARTNERS,          )         CASE NO.: CV10-00932 JST (FFMx)
   10 INC., an Illinois corporation,     )
                                         )         [Assigned to the Hon. Josephine Staton
   11                Plaintiff,          )         Tucker]
              vs.                        )
   12                                    )         PLAINTIFF KAHN CREATIVE
        NTH DEGREE, INC. aka BEYOND )              PARTNERS, INC.’S TRIAL BRIEF
   13   THE NTH DEGREE, INC., a          )
        Delaware corporation; and DOES 1 )
   14   through 10, inclusive,           )         [Local Rule 16-4]
                                         )
   15                Defendants.         )
                                         )         Courtroom: 10A
   16                                    )
                                         )
   17                                    )         Complaint filed: February 8, 2010
                                         )
   18                                    )
                                         )         Trial Date: May 10, 2011
   19   _____________________________ )
   20
   21
                   Pursuant to Local Rule 16-4, plaintiff Kahn Creative Partners, Inc.,
   22
   23 (“KCP” or “Plaintiff”) hereby submits its trial brief in support of its claims for (1)
   24
        implied partnership, (2) implied joint venture, (3) breach of fiduciary duties, (4)
   25
   26 unjust enrichment and (5) unfair business practices in violation of California
   27 Business and Professions Code section 17200.
   28

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    1                             I. CLAIMS AND DEFENSES
    2
                  A.             Summary Statement of Plaintiff’s Claims
    3                            [Local Rule 16-4.1(a)]
    4
                  This is an action by plaintiff KCP for damages and equitable relief caused
    5
    6 by the unlawful, unfair and deceptive conduct of defendant Nth Degree, Inc. (“Nth”
    7
        or “Defendant”), which breached its implied partnership agreement with KCP after
    8
    9 luring the plaintiff to commit vast resources of its time and creative work product in
   10 order to win the RSA Conferences (“RSAC”) by representing to KCP that it would
   11
        jointly prepare a response to RSAC’s Request For Proposal (“RFP”) and would
   12
   13 share equally in the work and profits that would result if the partnership had the
   14 winning proposal. Notwithstanding that Nth and KCP did partner and did prepare a
   15
        joint proposal which wound up the winning proposal, Nth kept the win for itself,
   16
   17 securing contracts for management of the 2010 US RSA Conference and 2010
   18
        European RSA Conference solely for itself, shutting KCP completely out of any
   19
        work and revenue from those events, or the subsequent conferences that naturally
   20
   21 and logically flowed from the winning proposal.
   22
                  By shutting KCP out of all opportunities flowing from the winning
   23
   24 proposal, Nth breached its implied partnership agreement with Nth, and KCP is,
   25 therefore, entitled to 50% of the direct profits resulting from the 2010 US RSA
   26
        Conference, the 2010 European RSA Conference, the 2011 US RSA Conference, all
   27
   28 of which have already been held, and the 2011 European RSA Conference and the

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    1 2012 US RSA Conference and 2012 European RSA Conference, all of which have
    2
        not yet been held but have been awarded to Nth. Additionally, plaintiff seeks
    3
    4 recovery for the reasonably certain profits from the 2013 through 2015 U.S. and
    5
        Europe RSA Conferences which are reasonably certain to be awarded to Nth based
    6
        on the Joint Proposal created and submitted by the KCP/ Nth joint partnership and
    7
    8 joint venture.
    9
                   Alternatively, Nth unfairly competed with KCP by tricking KCP into
   10
   11 doing the bulk of the creative and strategic work on the proposal based on conduct
   12 and representations that the parties were building a partnership and that it would
   13
        allow KCP to share equally in anything that was won. Under this unfair competition
   14
   15 theory, KCP is entitled to damages, the value of its principals’ hours of labor spent
   16 during the RFP process, as well as punitive damages.
   17
                   Plaintiff has pled and plans to pursue the following claims against
   18
   19 defendant:
   20
   21
   22              1.               Breach of Implied Partnership

   23              Defendant breached an implied partnership with KCP to prepare a joint
   24
        proposal to jointly manage the 2010 RSA Conferences in the US and Europe and
   25
   26 beyond 2010, and to split any profits derived therefrom. [See Weiner v. Fleischman
   27 54 Cal.3d 476, 482-483, 816 P.2d 892 - “A joint venture or partnership may be
   28

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    1 formed orally or assumed to have been organized from a reasonable deduction from
    2
        the acts and declarations of the parties.”]
    3
    4
    5
                   2.               Breach of Implied Joint Venture
    6
                   Defendant breached an implied joint venture with KCP to prepare a joint
    7
    8 proposal to jointly manage the 2010 RSA Conferences in the US and Europe and
    9
        beyond 2010, and to split any profits derived therefrom. [See Ibid, Bank of
   10
   11 California v. Connolly (1973) 36 Cal.App.3d 350, 111 Cal.Rptr. 468 - “A joint
   12 venture exists where there is an agreement between the parties under which they
   13
        have a community of interest, that is, a joint interest, in a common business
   14
   15 undertaking, an understanding as to the sharing of profits and losses, and a right of
   16 joint control.”]
   17
   18
   19              3.               Breach of Fiduciary Duty
   20
                   Upon the formation of a partnership or joint venture with KCP a fiduciary
   21
   22 duty of utmost good faith, loyalty, truth, candor and fidelity was imposed upon Nth
   23 to KCP. Nth breached its fiduciary duty to KCP in June of 2009, by entering into a
   24
        contract with RSA to manage the conferences without KCP’s participation,
   25
   26 disavowing the existence of the partnership, joint venture, and agreement,
   27 terminating the partnership, joint venture and agreement without cause after having
   28

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    1 misappropriated KCP’s intellectual property, its ideas, and creative talent, and by
    2
        failing to account to KCP for its profits. [See Leff v. Gunter (1983) 33 Cal. 3d 508,
    3
    4 513-517, 189 Cal. Rptr. 377 - Partner’s secret competition with partnership/ joint
    5
        venturer, exploiting partnership opportunity for personal benefit, breaches the
    6
        fiduciary duty to copartners by unfair competition, even after partner’s withdrawal
    7
    8 from partnership.]
    9
   10
   11              4.               Unjust Enrichment

   12              In exchange for the development of the joint proposal for which Nth
   13
        entered into a partnership, joint venture and agreement with KCP, Nth agreed to
   14
   15 share profits derived from the management of the RSA Conferences with KCP. Nth
   16 was unjustly enriched at the expense of KCP since KCP has not received the
   17
        reasonable value of its services in developing the joint proposal or the amounts to
   18
   19 which it is entitled to under the agreement with Nth. [See Peterson v. Cellco
   20
        Partnership, (2008)
   21
   22 164 Cal.App.4th 1583, 1593, 80 Cal.Rptr.3d 316 - “The elements of an unjust
   23 enrichment claim are the receipt of a benefit and the unjust retention of the benefit at
   24
        the expense of another.”]
   25
   26
   27              5.               Unfair Business Practices
   28

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                                                5
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    1              Nth has engaged in unlawful, unfair and deceptive business acts and/or
    2
        practices by, among other things, misappropriating KCP’s creativity, ideas, and
    3
    4 trademark and by doing so has caused injury to its competitors, including but not
    5
        limited to KCP. [See Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co.,
    6
        (1999) 20 Cal. 4th 163, 180, 83 Cal.Rptr.2d 548 - For a claim for “unlawful” business
    7
    8 practice under California Business and Professions Code section 17200, the plaintiff
    9
        must show the violation of “anything that can properly be called a business practice
   10
   11 and that at the same time is forbidden by law.”]
   12
   13
                   B.              Elements of Plaintiff’s Claims
   14                              [Local Rule 16-4.1(b)]
   15
                   Claim 1: Breach of Implied Partnership
   16
   17                     The elements required to establish this claim are:
   18
                          a.        The existence of a valid implied partnership between
   19
        plaintiff and defendant;
   20
   21                     b.        Plaintiff’s performance under the partnership;
   22
                          c.        Defendant’s unjustified failure to perform; and
   23
   24                     d.        Damages to plaintiff caused by the breach.

   25              [See California Jury Instructions: Civil [BAJI] § 10.85 (2008); CACI
   26
        305.]
   27
   28

                     PLAINTIFF KAHN CREATIVE PARTNERS, INC.’S TRIAL BRIEF
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    1
    2
                     Claim 2: Breach of Implied Joint Venture
    3
    4                       The elements required to establish this claim are:
    5
                            a.       The existence of a valid implied joint venture between
    6
        plaintiff and defendant;
    7
    8                       b.       Plaintiff’s performance under the joint venture;
    9
                            c.       Defendant’s unjustified failure to perform; and
   10
   11                       d.       Damages to plaintiff caused by the breach.

   12                [See California Jury Instructions: Civil [BAJI] § 10.85 (2008); CACI
   13
        305.]
   14
   15
   16
                     Claim 3: Breach of Fiduciary Duty
   17
                            The elements required to establish this claim are:
   18
   19                       a.       Defendant was plaintiff’s partner in the partnership or
   20
        joint venture to produce a joint proposal to jointly manage the 2010 RSA
   21
   22 Conferences and beyond, and, therefore, it owed plaintiff fiduciary duties of loyalty,
   23 of utmost good faith and integrity, to abstain from self-dealing at the expense of
   24
        plaintiff;
   25
   26                       b.       Defendant knowingly acted against the interests of
   27 plaintiff by entering into a contract with RSA to manage the conferences without
   28

                       PLAINTIFF KAHN CREATIVE PARTNERS, INC.’S TRIAL BRIEF
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    1 KCP’s participation, disavowing the existence of the partnership, joint venture, and
    2
        agreement, terminating the partnership, joint venture and agreement without cause
    3
    4 after having misappropriated KCP’s intellectual property, its ideas, and creative
    5
        talent, and by failing to account to KCP for its profit;
    6
                           c.       Plaintiff did not give informed consent to defendant’s
    7
    8 conduct;
    9
                           d.       Plaintiff was harmed by defendant’s conduct; and
   10
   11                      e.       Defendant’s conduct was a substantial factor in causing

   12 plaintiff’s harm. [See CACI 4102; See Leff v. Gunter (1983) 33 Cal. 3d 508, 513-
   13
        517, 189 Cal. Rptr. 377, See also Bancroft-Whitney Company v. Glen, (1966) 64
   14
   15 Cal.2d 327, 345-48, 49 Cal.Rptr. 825.]
   16
   17
                   Claim 4: Unjust Enrichment
   18
   19                      The elements required to establish this claim are:
   20
                           a.       Plaintiff provided services to defendant at its request or
   21
   22 from which it derived a benefit;
   23                      b.       Plaintiff had the expectation that during the time services
   24
        were performed by plaintiff that compensation should be made to plaintiff if the joint
   25
   26 proposal was accepted; and
   27                      c.       Plaintiff rendered services to defendant at its request
   28

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    1 under the reasonable belief that defendant would share profits and compensate
    2
        plaintiff for such services if the joint proposal was accepted.
    3
    4 [See Peterson v. Cellco Partnership, (2008)164 Cal.App.4th 1583, 1593, 80
    5
        Cal.Rptr.3d 316, See also Del Del Madera Props. v. Rhodes & Gardner, 820 F.2d
    6
        973, 978 (9th Cir. 1987).]
    7
    8
    9
                   Claim 5: Unfair Business Practices
   10
   11                      The elements required to establish this claim are:
   12                      a.        Plaintiff must have suffered an injury in fact and have
   13
        lost money or property;
   14
   15                      b.        Defendant’s acts or business practices are either
   16
        unlawful, unfair or fraudulent;
   17
                           c.        For unfair acts or business practices, the harm to the
   18
   19 victim must outweigh any benefits; members of the public are likely to be deceived
   20
        by the defendant’s acts or business practices. [See Cal. Business & Professions
   21
   22 Code §§ 17200, 17204; See also Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular
   23 Tel. Co., (1999) 20 Cal. 4th 163, 180, 83 Cal.Rptr. 2d 548.]
   24
   25
   26              C.      Damages Recoverable by Plaintiff:

   27                      1. All Damages Suffered by Plaintiff:
   28

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    1              Plaintiff KCP can recover all compensatory damages in an amount which
    2
        will compensate Plaintiff for all the detriment proximately caused by Nth Degree’s
    3
        breach of implied partnership/ implied joint venture, or which, in the ordinary course
    4
    5 of things, would be likely to result therefrom. [See Civil Code section 3300; Bardis
    6 v. Oates 119 Cal.App.4th 1, 4, 14 Cal.Rptr.3d 89 - “Compensatory damages are
    7
        intended to redress the concrete loss that the plaintiff has suffered by reason of the
    8
        defendant's wrongful conduct.”]
    9
   10
   11                      2. Plaintiff’s Lost Profits:
   12
                   Plaintiff can recover it lost profits from Nth Degree’s breach of the
   13
        implied partnership or implied joint venture. [See GHK Associates v. Mayer Group,
   14
   15 Inc., (1990) 224 Cal.App.3d 856, 873-874, 274 Cal.Rptr. 168 - where breach of
   16 contract deprived the plaintiff of profits from partnership, evidence showing
   17 “reasonable basis” for calculation sufficient to uphold award of lost profits; See also
   18
        Shanghai Automation Instrument Co., Ltd. v. Kuei 194 F.Supp.2d 995, 1000-1001
   19
        (N.D.Cal. 2001) - plaintiff joint venturer can sue for lost profits for breach of the
   20
   21 joint venture agreement.]
   22
   23
                           3. Plaintiff’s Losses and Out-of-Pocket Expenses as Special
   24
                           Damages:
   25
                   Plaintiff can recover its out-of pocket expenses and losses caused by
   26
   27 Nth’s Degree’s breach of its fiduciary duty owed to the partnership as special
   28

                     PLAINTIFF KAHN CREATIVE PARTNERS, INC.’S TRIAL BRIEF
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    1 damages. [See Roberts v. Lomanto, (2003) 112 Cal.App.4th 1553, 1559, 5
    2
        Cal.Rptr.3d 866.]
    3
    4                       4. Defendant’s Gross Profits:
    5
                   Plaintiff has alleged in its Complaint “misappropriation of KCP’s
    6
                                                      rd
    7 intellectual property” (Plaintiff’s Complaint, 3 Cause of Action, Breach of Implied
    8
        Partnership, ¶ 47, 5th Cause of Action, Breach of Implied Joint Venture, ¶ 60) and
    9
        conversion of KCP’s intellectual property (Tenth Cause of Action, Unfair Business
   10
   11 Practices, ¶ 88). These claims are based in part on Nth Degree’s conversion of
   12
        Plaintiff’s common law “KAHN CREATIVE PARTNERS” trademark used
   13
   14 throughout the RSA CONFERENCE 2010 proposal which constitutes unlawful
   15 misappropriation of KCP’s common law trademark in violation of California
   16
        Business and Professions Code section 17200.
   17
   18              The Lanham Act provides that a trademark owner may recover “subject to
   19 the principles of equity ... (1) defendant's profits, (2) any damages sustained by the
   20
        plaintiff, and (3) the costs of the action.” 15 U.S.C. § 1117(a). A trademark owner
   21
   22 need not prove actual damages. Instead, once infringement is demonstrated and the
   23
        infringer's gross profits derived from the infringement are shown, the burden shifts to
   24
   25 the infringer to show “which, if any, of its total sales are not attributable to the
   26 infringing activity, and, additionally, any permissible deductions for overhead.” [See
   27
        Lindy Pen Co., Inc. v. Bic Pen Corp., 982 F.2d 1400, 1409 (9th Cir.1993) (citing 15
   28

                     PLAINTIFF KAHN CREATIVE PARTNERS, INC.’S TRIAL BRIEF
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    1 U.S.C. § 1117(a)). In addition, where the infringement is “intentional” or “knowing,”
    2
        a court may award treble damages. [See 15 U.S.C. § 1117(b); California Business
    3
    4 and Professions Code section 17200, et seq.]
    5
    6
                          5. An Accounting and Disgorgement of Nth’s Profits to
    7
    8                     Plaintiff to Prevent Unjust Enrichment.
    9             Plaintiff has alleged the recovery of Nth’s profits by an accounting and
   10
        disgorgement of Nth’s profits as restitution to prevent unjust enrichment to Nth by
   11
        its wrongful termination of the partnership and joint venture by wrongfully taking
   12
   13 the partnership business awarded by the RSA Conference for Nth’s own benefit,
   14 wrongfully excluding Plaintiff. [ See Celador Intern. Ltd. v. Walt Disney Co.
   15
        347 F.Supp.2d 846, 859 (C.D. Cal. 2004).]
   16
   17
   18                     6. Recovery of Reasonably Certain Future Profits from

   19                     Defendant:
   20             Plaintiff can recover its loss of reasonably certain future partnership
   21
        profits that Nth Degree will earn from the 2012 through 2015 RSA Conferences as
   22
   23
        reasonably certain profits that Plaintiff would have earned but for Nth Degree’s

   24 wrongful breach and termination of the partnership. [See Nelson v. Reiser (1958) 51
   25 Cal. 2d 161, 171-172, 331 P.2d 17; See also Gherman v. Colburn (1977) 72 Cal.
   26
        App. 3d 544, 571-572, 140 Cal. Rptr. 330 - damages for repudiation of joint venture
   27
        includes lost profits that venture could reasonably have been expected to earn during
   28

                     PLAINTIFF KAHN CREATIVE PARTNERS, INC.’S TRIAL BRIEF
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    1 the period of the joint venture.]
    2
    3
                          7.       Punitive Damages to Plaintiff:
    4
    5             Plaintiff has alleged the recovery of exemplary damages to punish
    6 Defendant based on its claims of breach of fiduciary duties and fraudulent, unfair
    7
        business practices by Defendant by disavowing the existence of the partnership,
    8
        misappropriating KCP’s intellectual property and by failing to account for profits to
    9
   10 KCP. [See Bardis v. Oates 119 Cal.App.4th 1, 14 Cal.Rptr.3d 89 - punitive damages
   11 recoverable for fraudulent breach of fiduciary duties and partnership.]
   12
   13
                          8.       Attorney’s Fees to Plaintiff:
   14
   15             Plaintiff can obtain attorney’s fees based on proof of intentional,

   16 deliberate or willful conversion of Plaintiff’s KAHN CREATIVE PARTNERS ™
   17 common law trademark which constitutes misappropriation of Plaintiff’s trademark
   18
        under the Lanham Act and unfair competition under California Business and
   19
        Professions Code section 17200. [See Earthquake Sound Corp. v. Bumper
   20
                                         th
   21 Industries, 352 F. 3d 1210, 1216 (9 Cir. 2003); See also Watec Co., Ltd. v. Liu, 403
   22 F.3d 645, 656 (9th Cir. 2005).]
   23
                  Plaintiff also maintains that attorneys’ fees are recoverable since it is
   24
        bringing this action pursuant to California Business & Professions Code §§ 17200 et
   25
   26 seq and California Code of Civil Procedure §§ 1021 and 1021.5 as a private attorney
   27 general, on behalf of, and for the benefit of the general public. Pursuant to the
   28

                     PLAINTIFF KAHN CREATIVE PARTNERS, INC.’S TRIAL BRIEF
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    1 sections of these Codes cited, attorneys’ fees are recoverable.
    2
    3
                   Key Evidence in Support of Each of Plaintiff’s Claims
    4                    [Local Rule 16-4.1(c)]
    5
                   Since each of plaintiff’s claims is based upon the same or essentially the
    6
    7 same facts, the key evidence it anticipates submitting in support of each of the claims
    8
        is the same, and is as follows:
    9
   10                      1.       RSA Request for Proposal for 2010 RSA Conferences;

   11                      2.       RSA Request for Information (“RFI”) for 2010 RSA
   12                               European Conference;

   13                      3.       Joint Proposal submitted by KCP and Nth in response to
   14                               the RFP and proposal submitted in response to the RFI;
   15                      4.       Financial records and documentation provided by
   16                               defendant and the evaluation of the same by KCP and/or
                                    experts retained by KCP;
   17
   18                      5.       E-mails between the “KCP team” and the “Nth team”
                                    relating to the formation of the implied/oral partnership
   19
                                    and partnership agreement, the work done by both
   20                               plaintiff and defendant to produce the joint proposal and
                                    for its submission to RSA, additional work done by the
   21
                                    plaintiff and defendant in connection with the RFI;
   22
   23                      6.       Witness testimony to be offered at trial pursuant to
                                    plaintiff’s witness list submitted in accordance with Local
   24                               Rule 16-5.
   25
   26
   27              D.      Defendant’s Affirmative Defenses to KCP’s Claims
                           [Local Rule 16-4.1(d)]
   28

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    1              Defendant Nth Degree, Inc. has asserted the following affirmative
    2
        defenses in its Memorandum of Contentions fo Law and Fact:
    3
    4                        1.       Defendant is entitled to offset for any monies
                             received by plaintiff from defendant if plaintiff prevails.
    5
    6                        2.       Plaintiff’s complaint is barred by the equitable
                             doctrine of unclean hands.
    7
    8              E.        Elements Required to Be Established For Defendant’s
    9
                                     Affirmative Defenses (“AD”)
                             [Local Rule 16-4.1(e)]
   10                        AD 4: Defendant is entitled to Offset Damages:
   11
                   Plaintiff is unaware of what authority provides for this affirmative defense
   12
   13 other than under a theory of contribution.
   14                        AD 7:    Equitable doctrine of unclean hands:
   15
                   For unclean hands, defendant must establish:
   16
   17              1.        Plaintiff has violated a duty of good faith or has acted
                             unconscionably;
   18
   19           2.       In connection with the same subject matter or relationship out of
      which plaintiff claims a right to relief. Liberty Mutual Ins. Co. V. Colonial Ins. Co.,
   20
      8 Cal.App.3d 427, 433 (1970).
   21
   22
                   F.        KCP’s Key Evidence in Opposition to Defendant’s Affirmative
   23                        Defenses
   24                        [Local Rule 16-4.1(f)]
   25              Plaintiff’s key evidence refuting each of defendant’s affirmative defenses
   26
        is based upon the same or essentially the same facts as supporting each of its claims.
   27
   28

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    1 The key evidence in opposition, therefore, to defendant’s affirmative defenses is as
    2
        follows:
    3
    4                      1.       RSA Request for Proposal for 2010 RSA Conferences;
    5                      2.       RSA Request for Information (“RFI”) for 2010 RSA
    6                               European Conference;
    7                      3.       Joint Proposal submitted by KCP and Nth in response to
    8
                                    the RFP and proposal submitted in response to the RFI;
    9
                           4.       Financial records and documentation provided by
   10
                                    defendant and the evaluation of the same by KCP and/or
   11
                                    experts retained by KCP;
   12
                           5.       E-mails between the “KCP team” and the “Nth team”
   13
   14                               relating to the formation of the implied/oral partnership

   15                               and partnership agreement, the work done by both
   16                               plaintiff and defendant to produce the joint proposal and
   17                               for its submission to RSA, additional work done by the
   18                               plaintiff and defendant in connection with the RFI;
   19                      6.       Witness testimony to be offered at trial pursuant to
   20
                                    plaintiff’s witness list to be submitted in accordance with
   21
                                    Local Rule 16-5.
   22
   23
   24              G.      Issues of Law
                           [Local Rule 16-4.1(I)]
   25
   26              1. Whether Defendant received a benefit and unjustly retained benefits
   27
        from plaintiff and is liable to plaintiff for unjust enrichment. [See Peterson v. Cellco
   28

                     PLAINTIFF KAHN CREATIVE PARTNERS, INC.’S TRIAL BRIEF
                                             16
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    1 P’ship, 80 Cal. Rptr. 3d 316, 323 (2008).]
    2
                   2. Whether Defendant is liable to plaintiff for unfair or unlawful business
    3
    4 practices constituting unfair and unlawful competition under California Business and
    5
        Professions Code section 17200. [See Cel Tech Commc’ns, Inc. v. Los Angeles
    6
        Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999).]
    7
    8
    9
                   H.        Bifurcation of Issues
   10                        [Local Rule 16-4.3]
   11
                   Pursuant to the Final Pretrial Conference Order, the jury will be permitted
   12
   13 to hear evidence on plaintiff’s prima facie case of the liability of defendant for
   14 punitive damages and if liability is established, plaintiff will then be permitted to
   15
        present evidence of Defendant’s net worth or its profits supporting punitive
   16
   17 damages.
   18
   19
   20
                   I.        Jury Trial
                             [Local Rule 16-4.4]
   21
   22              Plaintiff made a timely demand for a jury trial by including a demand in

   23 the caption of its original Complaint which stated “JURY TRIAL DEMANDED” in
   24
        bold in its caption and by checking the demand for jury trial box on its Civil Cover
   25
   26 Sheet. Both the original Complaint and the Civil Cover Sheet were signed by
   27
        plaintiff’s counsel and filed on February 8, 2010. This Court entered “JURY
   28

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    1 DEMANDED” on February 8, 2010, on docket entry number 1 for plaintiff’s
    2
        Complaint. Plaintiff preserved its constitutional right to a jury trial and provided
    3
    4 notice to this Court and to Defendant that a jury trial had been demanded pursuant to
    5
        Federal Rule of Civil Procedure 38(b). [See Pradier v. Elespuru, 641 F.2d 808, 809
    6
        (9th Cir. 1981) - endorsement on the pleading of the demand for a jury trial was
    7
    8 sufficient to preserve the right to a jury trial and the denial of a jury trial was error by
    9
        the trial court.]
   10
   11               The Ninth Circuit Court of Appeals has previously held that there is

   12 flexibility in how a demand for jury trial is made so long as it provides notice to the
   13
        opposing party and the Court that a jury trial has been demanded at the earliest
   14
   15 possible opportunity. [See Lutz v. Glendale Union High School, 403 F.3d 1061,
   16 1064-1065 (9th Cir. 2005).]
   17
   18
   19                       “What we do insist on is that the jury demand be sufficiently clear
   20                       to alert a careful reader that a jury trial is requested on an issue.
   21                       This approach allows a great deal of flexibility in how the
   22                       request is made, and so comports with our presumption
   23                       against waiver, while still recognizing that the purpose of Rule
   24                       38's demand requirement is to “inform the Court and counsel
   25                       well in advance of trial as to the trial method desired.” [Ibid.]
   26                       (emphasis added.)
   27
   28

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    1              Defendant had early notice of plaintiff’s jury trial demand on February 8,
    2
        2010, from the original filed Complaint, this Court’s docket entry, and through each
    3
    4 of this Court’s subsequent trial setting and case management orders.
    5
                   This Court has recognized plaintiff’s jury trial demand on its docket and
    6
        in its Order Setting Case Management Dates and Order on Jury Trial dated October
    7
    8 29, 2010. Additionally, the parties’ Joint Rule 26(f) Report filed with this Court on
    9
        July 26, 2010 included explicit jury trial requests from both Plaintiff and Defendant
   10
   11 signed by each counsel for the parties. Consequently, there is no surprise or
   12 prejudice to Defendant and Defendant does not contend any prejudice in its
   13
        Memorandum of Contentions of Fact and Law filed on March 28, 2011. Indeed, in
   14
   15 Defendant’s Memorandum of Contentions of Fact and Law, Defendant admits that it
   16 has “participated in pretrial preparations so as not to waive any potential jury
   17
        instructions” which clearly demonstrates that Defendant and its counsel have
   18
   19 suffered no prejudice or surprise regarding a jury trial in this case.
   20
                   Additionally, there is no knowing, voluntary waiver by plaintiff of its
   21
   22
        right to a jury trial under the 7th Amendment to the Constitution and there is a

   23 presumption against finding such a waiver because this right is so fundamental.
   24
   25
   26                     “The demand for a jury trial having been properly made under

   27                     Fed.R.Civ.P. 38(b), the failure to fulfill an additional requirement
   28                     of a local rule to place a notation to that effect in the title cannot

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    1                        constitute a waiver of a trial by jury. Because the right to a jury
    2                        trial is a fundamental right guaranteed to our citizenry by the
    3                        Constitution, courts should indulge every reasonable
    4
                             presumption against waiver.” [See Pradier v. Elespuru, 641 F.2d
    5
                             808, 809 (9th Cir. 1981); See also Lutz v. Glendale Union High
    6
                             School, 403 F.3d 1061, 1064 (9th Cir. 2005) - the 9th Circuit
    7
                             “indulges every reasonable presumption against waiver of the jury
    8
                             trial right.”] (emphasis added.)
    9
   10
   11              The Pacific Fisheries case relied on by Defendant is distinguishable on its

   12 facts because in that case plaintiff filed an untimely jury demand without
   13
        justification, whereas in this case, plaintiff’s jury demand was timely filed with its
   14
   15 jury demand in the caption of its original Complaint. [See Pacific Fisheries Corp. v.
   16
        Hih Casualty & General Ins., Ltd. 239 F.3d 1000, 1002 (9th Cir. 2001).] Similarly,
   17
        the plaintiff in the Atlantic Richfield case relied on by Defendant failed to timely file
   18
   19 a jury demand and that case is also distinguishable on its facts. [See Craig v. Atlantic
   20
        Richfield Co., 19 F. 3d 472, 477 (9th Cir. 1994).]
   21
   22              Plaintiff respectfully submits that it has preserved its right to a jury trial

   23 on all of its causes of action and Defendant was provided with timely notice of
   24
        plaintiff’s jury trial demand in its original Complaint filed on February 8, 2010.
   25
   26
   27
                   J.        Attorneys’ Fees
   28

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                                                20
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    1                     [Local Rule 16-4.5]
    2
                   Plaintiff maintains that attorneys’ fees are recoverable since it is bringing
    3
    4 this action pursuant to California Business & Professions Code §§ 17200 et seq and
    5
        California Code of Civil Procedure §§ 1021 and 1021.5 as a private attorney general,
    6
        on behalf of, and for the benefit of the general public. Pursuant to the sections of
    7
    8 these Codes cited, attorneys’ fees are recoverable.
    9
   10
   11              K.     Abandonment of Issues
                          [Local Rule 16-4.6]
   12
   13              Plaintiff has not abandoned any issues raised in its Complaint.
   14
   15
        Dated: May 3, 2011                            Respectfully submitted,
   16
   17                                                 THE ALTMAN LAW GROUP
   18
   19                                                 By: /s/ BRYAN C. ALTMAN
                                                             BRYAN C. ALTMAN
   20
                                                             MICHAEL T. SMITH
   21                                                        Attorneys for Plaintiff
   22                                                        Kahn Creative Partners, Inc.

   23
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                                             21
